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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                 8:16CR76
                                             )
       vs.                                   )
                                             )
JODY CASILLAS                                )                  ORDER
                                             )
                     Defendant..             )


       This matter is before the court on defendant’s unopposed Motion for Continuance
[243]. Counsel is seeking additional time to negotiate a plea with the government.
Defendant shall comply with NECrimR 12.1(a). For good cause shown,

       IT IS ORDERED that the Unopposed Motion for Continuance[243] is granted as
follows:

       1. The jury trial now set for March 14, 2017 is continued to April 11, 2017.

       2. The defendant shall file the affidavit required by paragraph 9 of the progression
order and NE.CrimR 12.1(a) forthwith.

        3. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today’s date and April 11, 2017, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act.
Failure to grant a continuance would deny counsel the reasonable time necessary for
effective preparation, taking into account the exercise of due diligence. 18 U.S.C. §
3161(h)(7)(A) & (B)(iv).

       DATED March 3, 2017.

                                   BY THE COURT:

                                   s/ F.A. Gossett III
                                   United States Magistrate Judge
